Case 2:19-cr-20626-NGE-DRG ECF No. 71, PageID.1670 Filed 04/19/21 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

United States of America,

        Plaintiff,
                                               Criminal No. 19-cr-20626
v.
                                               Honorable Nancy G. Edmunds
D-1 EMANUELE PALMA,
D-2 SERGIO PASINI, AND
D-3 GIANLUCA SABBIONI,

        Defendants.
                                         /


         GOVERNMENT’S MOTION, SUPPORTING BRIEF
 AND ORDER TO UNSEAL SUPERSEDING INDICTMENT (ECF No. 64)


     The United States of America hereby moves for an order unsealing the

Superseding Indictment in this case, and states:

        1. The Superseding Indictment in this case charges the Defendants with

           one or more federal crimes.

        2. Rule 6(e)(4) of the Federal Rules of Criminal Procedure, which

           authorizes this Court to seal indictments, implicitly authorizes this Court

           to unseal indictments.

        3. The government requests that the Superseding Indictment be unsealed

           because the government has taken steps to reduce its concern about risk

           of flight, which was the basis for the original sealing.
Case 2:19-cr-20626-NGE-DRG ECF No. 71, PageID.1671 Filed 04/19/21 Page 2 of 2




   WHEREFORE, the government requests this Court to issue an order unsealing

the Superseding Indictment.

                                         Respectfully submitted,

                                         Saima S. Mohsin
                                         Acting United States Attorney


                                         s/Timothy Wyse
                                         Timothy J. Wyse
                                         Assistant United States Attorney
                                         211 W. Fort Street, Suite 2001
                                         Detroit, Michigan 48226
                                         (313) 226-9144
                                         Timothy.Wyse@usdoj.gov


Dated: April 19, 2021



   IT IS SO ORDERED.

                                         s/ Nancy G. Edmunds
                                         Nancy G. Edmunds
                                         United States District Judge

Entered: April 19, 2021
